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                        UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF NEW JERSEY


  ADAM X., BRIAN Y., CASEY Z., on behalf
  of themselves and all others situated, and the
  AMERICAN CIVIL LIBERTIES UNION OF
  NEW JERSEY, and the ARC OF NEW
  JERSEY,                                               Civil Action No.: 3:17-cv-00188-FLW-LHG

                          Plaintiffs,
          v.

  NEW JERSEY DEPARTMENT OF
  CORRECTIONS, VICTORIA KUHN, in her
  official capacity as Acting Commissioner of
  the New Jersey Department of Corrections,
  NEW JERSEY DEPARTMENT OF
  EDUCATION, and ANGELICA ALLEN-
  MCMILLAN, in her official capacity as Acting
  Commissioner of the New Jersey Department
  of Education,

                          Defendants.



             DECLARATION OF JEANNE LOCICERO IN SUPPORT
     OF MOTION FOR CLASS CERTIFICATION AND PRELIMINARY APPROVAL
                      OF SETTLEMENT AGREEMENT

 I, Jeanne LoCicero, hereby declare:

        1.      I am an attorney licensed to practice law in the State of New Jersey and admitted

 to the United States District Court for the District of New Jersey. I am counsel of record for

 Plaintiffs in the above-captioned case. This declaration is based upon my personal knowledge. If

 called to testify, I could testify competently to the facts described in this declaration.

        2.      I submit this declaration in support of Plaintiffs’ Motion for Class Certification

 and Preliminary Approval of Settlement.




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                                              EXHIBITS

    1. Attached are true and correct copies of the following documents:

             a. Attached hereto as Exhibit 1 is a true and correct copy of the Settlement

                Agreement entered into between Plaintiffs and Defendants on July 15, 2021.

             b. Attached hereto as Exhibit 2 is a true and correct copy of the Notice to the Class,

                comprised of the Full Notice, One-Page Flyer, and Compensatory Education

                Form.

             c. Attached hereto as Exhibit 3 is an email from Deputy Attorney General Michael

                Vomacka to Plaintiffs’ Counsel, dated July 15, 2021, providing a non-confidential

                summary of class member population data.

                    PROPOSED CLASS COUNSEL’S QUALIFICATIONS

        2.      I am the Legal Director at the American Civil Liberties Union of New Jersey

 (“ACLU-NJ”), and, along with Disability Rights Advocates (“DRA”) and Proskauer Rose LLP,

 am proposed class counsel in this case.

        3.      The ACLU-NJ is a private, non-profit, non-partisan membership organization

 dedicated to the principle of individual liberty embodied in the Constitution. Founded in 1960,

 the ACLU-NJ has approximately 41,000 members and supporters in New Jersey. The ACLU-NJ

 is the state affiliate of the American Civil Liberties Union, which was founded in 1920 for

 identical purposes, and is composed of more than 1,750,000 members and supporters nationwide.

 The ACLU of New Jersey has long advocated for the constitutional rights of prisoners and

 detainees in county jails, state prisons, and other correctional facilities, representing them in state

 and federal courts and before state agencies.




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        4.      The ACLU-NJ has extensive experience litigating class actions in a wide range of

 public interest and constitutional matters. Representative class actions handled by the ACLU-NJ

 include Sojourner A. v. N.J. Dep’t of Human Services, No. ESX-L-10171-97 (N.J. Sup. Ct., Law.

 Div.) (challenging New Jersey’s welfare cap), Jones v. Hayman, No. MER-C-123-07 (N.J. Sup.

 Ct., Chancery Div.) (challenging discriminatory conditions of confinement afforded female

 prisoners), and Colon v. Passaic County, No. 2:08-cv-04439-DMC-MF (D.N.J.) (challenging

 unconstitutional conditions of confinement at county jail).

        5.      I have specialized in the use of litigation to advance the public interest for more

 than 20 years, focusing almost exclusively on cases impacting the constitutional and civil rights

 of New Jerseyans, including those in state custody. I served as class counsel in the Jones and

 Colon actions listed above.

        6.      Prior to joining the ACLU-NJ in 2004, I worked for three years as a litigator at

 Debevoise & Plimpton LLP. I earned my J.D. with highest honors from the Rutgers School of

 Law – Newark in 2000 and my B.A. from Douglass College, Rutgers University in 1995.

        7.      Also working on this case for the ACLU-NJ is Staff Attorney Tess Borden.

        8.      Ms. Borden is licensed to practice in New Jersey and is admitted to the United

 States District Court for the District of New Jersey. Ms. Borden received her J.D. from Harvard

 Law School cum laude in 2014 and her B.A. from Yale College in 2008. Ms. Borden’s practice

 includes representing people incarcerated in New Jersey state prisons and county jails. Prior to

 joining the ACLU-NJ, Ms. Borden worked on federal cases involving criminal law reform and

 constitutional rights at the ACLU National Office in New York.




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        9.      The ACLU-NJ is committed to litigating this case and enforcing this settlement

 vigorously on behalf of the Plaintiff Class. The ACLU-NJ has the resources required to litigate

 and enforce this matter in a cost-effective, efficient, and thorough manner.

        10.     To my knowledge, the ACLU-NJ lawyers have no conflicts of interest that would

 prevent them from providing zealous representation of the Named Plaintiffs and the Class.

        11.     The ACLU-NJ is also an Organizational Plaintiff in this litigation. The

 Declaration of Amol Sinha, ACLU-NJ Executive Director, is filed contemporaneously on behalf

 of the ACLU-NJ as Organizational Plaintiff.

     THE PROPOSED SETTLEMENT AGREEMENT IS FAIR AND REASONABLE

        12.     As explained in Plaintiffs’ unopposed motion, the Parties achieved the Settlement

 Agreement (the “Agreement”) through a series of arms-length negotiations before and with

 assistance from Magistrate Judge Goodman. These negotiations spanned from Spring 2018 to

 July 2021, as outlined in detail in the Declaration of Rebecca Rodgers, filed contemporaneously.

        13.     The substantive relief ultimately agreed to was informed by the process the

 Parties engaged in with a neutral Court-appointed expert, before the commencement of formal

 settlement negotiations. On May 19, 2017, following Defendants’ Answer to the Amended

 Complaint, the Court appointed Dr. Joseph Gagnon to review and evaluate the New Jersey

 Department of Corrections’ (“DOC”) provision of special education and the New Jersey

 Department of Educations’ (“DOE”) oversight thereof, and to recommend solutions.

        14.     Although the Parties did not engage in formal discovery, as part of the expert

 process, the DOC, DOE and Plaintiffs’ Counsel produced over 20,000 pages of documents to Dr.

 Gagnon from July 2017 through March 2018, including student records, education materials,

 department policies, internal management procedures, operations records, and related items. Dr.



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 Gagnon relied on these documents, and Counsel for the Parties thoroughly reviewed them both at

 that time and in negotiating provisions of DOC policy changes and other relief provided in the

 Settlement Agreement.

        15.     Additionally, Dr. Gagnon spent nearly 95 hours on-site at DOC prisons with

 Plaintiffs’ and Defendants’ counsel. He interviewed over 60 incarcerated students, met with

 teaching staff, and observed instruction of students with disabilities at various facilities.

        16.     Dr. Gagnon presented the results of his document review and on-site interviews

 and observations in a 58-page expert report, produced to the Parties in March 2018, and

 subsequently provided to the Court. The report detailed extensive findings regarding deficiencies

 in Defendants’ provision of special education services and verified the Named Plaintiffs’ factual

 allegations contained in the Complaint.

        17.     After reviewing and discussing Dr. Gagnon’s report, the Parties entered into

 settlement discussions. It is my belief and experience that Dr. Gagnon’s expert review, analysis,

 and report was critical to the Parties’ negotiation of the Agreement presented to the Court today,

 which includes a stipulation by Defendants, for purposes of this lawsuit only and in order to

 settle this matter, that the education services provided at DOC prisons necessitate the remedial

 measures contained in the Agreement.

        18.     Since filing the Amended Complaint and during the more than three years of

 settlement negotiations, Plaintiffs’ counsel have continued to meet with and interview members

 of the putative class, as well as the three individual Named Plaintiffs and two Organizational

 Plaintiffs. These interviews resulted in the collection of extensive evidence of Defendants’ denial

 of education to students with disabilities, which also informed negotiations. Because substantive

 relief was crafted based on class members’ and Plaintiffs’ input, and based on what I know from




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 these interviews and information-collection, it is my belief that the vast majority of the proposed

 Class will support the relief contained in the Agreement.

        19.      As detailed in the Declaration of Rebecca Rodgers, the Agreement will provide

 substantial benefits to the proposed class while avoiding the risks and delays of litigation.

 Further, it is clear that the proposed class includes a large number of individuals, and thus that

 the relief contained in the Agreement will impact a significant number of lives.

        20.     Specifically, as part of settlement negotiations, counsel for the Parties have

 discussed the process of providing notice to class members, should the Court preliminarily

 approve the Agreement and form and method of Notice at Exhibit 2 and certify the proposed

 class. Accordingly, counsel for the Parties have discussed identification of class members.

 Defendants have produced information to Plaintiffs’ counsel regarding the number of putative

 class members for the years relevant to this lawsuit (January 2015 to the present, according to the

 proposed class definition negotiated and agreed to by the Parties). This number far exceeds the

 threshold for numerosity in this Circuit. While Defendants have marked the particular

 information Attorneys’ Eyes Only, Deputy Attorney General Michael Vomacka has provided a

 non-confidential summary of this population data in an email attached here as Exhibit 3. That

 summary indicates the class size is in the hundreds. Specifically, it states that the DOC’s recent

 data searches, conducted in May and June 2021, have identified 422 putative class members, 53

 of whom were still in DOC custody at the time of the search.

                                        FEES AND COSTS

        21.     The Agreement also provides that Plaintiffs have the right to seek and recover

 reasonable attorneys’ fees and costs. The Parties have agreed to an award of $975,000, subject

 to Court approval.



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        22.     Plaintiffs will file a subsequent motion to the Court for approval of the amount of

 fees agreed to by the Parties in the Agreement, pursuant to Federal Rule of Civil Procedure

 23(h). The papers for such a motion will detail further the extensive efforts that Class Counsel

 have undergone in vigilantly litigating and settling this case.



 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on July 15, 2021 in Newark, New Jersey.


                                               s/ Jeanne LoCicero______________
                                               Jeanne LoCicero




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